Case: 1:18-cv-07064 Document #: 421 Filed: 03/21/23 Page 1 of 4 PagelD #:17773

Christina Presslak

Subject: FW: [EXTERNAL EMAIL] RE: Brown v. City of Chicago, et al., No. 18 CV 7064 - Juror Questionnaire

From: Abbie Peluso < <a speluso >rshc-law.com>

Sent: Tuesday, March 21, 2023 10:41 AM

To: Christina Presslak <Christina Presslak@ilnd.uscourts.gov>; Allyson West <awest@halemonico.com>

Cc: Allison Siebeneck <ASiebeneck@rshc-law.com>; Ronald Safer <rsafer@rshc-law.com>; andy@halemonico.com; Bill

Bazarek <web@halemonico.com>; Bobb@pcbtrialaw.com; David Nordwall <david@drnlaw.net>
Subject: RE: [EXTERNAL EMAIL] RE: Brown v. City of Chicago, et al., No. 18 CV 7064 - Juror Questionnaire

FILED

 

Good morning, Ms. Presslak and counsel, MAR 2 1 2023
. CHIEF JUDGE
Thank you very much for the opportunity to respond. UNIT] REBECCA R PALL
ED STATES DISTRICT EYER
CT CourT

We object to both proposed questions.

Proposed Question 16 is overly broad and open-ended, and some jurors may not even have enough time or space to
answer the question fully. Additionally, it improperly attempts to precondition jurors (for example, this case has nothing
to do with funding or defunding the police) and it invades juror privacy on irrelevant issues, including, for example,
requiring disclosure of personal beliefs on irrelevant political issues.

We similarly object to Proposed Question 17. It is overly broad, irrelevant, and invades juror privacy, including,
potentially, on irrelevant political beliefs and leanings. The question does not probe for bias that could rise to the level
of a legitimate challenge for cause.

Thank you,
Abbie
Abbie Peluso (bio)

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Case: 1:18-cv-07064 Document #: 421 Filed: 03/21/23 Page 2 of 4 PagelD #:17774

Christina Presslak
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Subject: FW: Brown v. City of Chicago, et al, No. 18 CV 7064 - Juror Questionnaire

From: William Bazarek <web@halemonico.com>

Sent: Monday, March 20, 2023 5:00 PM

To: Christina Presslak <Christina Presslak@ilnd.uscourts.gov>

Cc: Allison Siebeneck <ASiebeneck@rshc-law.com>; Ronald Safer <rsafer@rshc-law.com>; Abbie Peluso <apeluso@rshc-

law.com>; Andrew Hale <Andy@halemonico,com>; bobb@pcbtrialaw.com; David Nordwall <david@drnlaw.net>;
Allyson West <awest@halemonico.com>; Daniel M. Noland <dnoland@reiterburns.com>

Subject: RE: Brown v. City of Chicago, et al., No. 18 CV 7064 - Juror Questionnaire

 

Hi Ms. Presslak- separate from the court’s inquiry to plaintiff's counsel on questions 16 and 17, we also know that
Judge Pallmeyer relayed to the parties that she would add cautionary language to jury cover letter about jurors not
watching tv, reading newspapers/media reports, going online, etc. to discover info about the case.

Thanks

William E. Bazarek
Partner

Hale & Monico LLC

53 W. Jackson Blvd.
Suite 330

Chicago, Illinois 60604
(312) 870-6902

web@halemonico.com

From: Christina Presslak <Christina Presslak@ilnd.uscourts.gov>

Sent: Monday, March 20, 2023 4:08 PM

To: Allyson West <awest@halemonico.com>

Cc: Allison Siebeneck <ASiebeneck@rshc-law.com>; Ronald Safer <rsafer@rshc-law.com>; Abbie Peluso <apeluso@rshc-
law.com>; andy@halemonico.com; Bill Bazarek <web@halemonico.com>; bobb@pcbtrialaw.com; David Nordwall

<david@drnlaw.net>
Subject: RE: Brown v. City of Chicago, et al., No. 18 CV 7064 - Juror Questionnaire

Please see message below from Judge Pallmeyer:
Dear Counsel:

| have no objection to Defendants’ proposed revision to the juror cover letter. | ask Plaintiff's counsel to advise whether
they object to Defendant’s proposed Questions 16 and 17.

Rebecca Pallmeyer
 

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From: Allyson West <awest@halemonico.com>

Sent: Monday, March 20, 2023 3:38 PM

To: Christina Presslak <Christina Presstak@ilnd.uscourts.gov>

Cc: Allison Siebeneck <ASiebeneck@rshc-law.com>; Ronald Safer <rsafer@rshc-law.com>; Abbie Peluso <apeluso@rshc-
law.com>; andy@halemonico.com; Bill Bazarek <web@halemonico.com>; Bobb@pcbtrialaw.com; David Nordwall

<david@drnlaw.net>
Subject: Re: Brown v. City of Chicago, et al., No. 18 CV 7064 - Juror Questionnaire

 

Ms. Presslak,

Attached please find the cover letter and juror questionnaire with revisions and additions submitted on behalf of the
Defendants. Please let me know if you or the Court has any questions or concerns.

Thank you,
Allyson

On Mon, Mar 20, 2023 at 3:07 PM Christina Presslak <Christina Presslak@ilnd.uscourts.gov> wrote:

Please see the message below from Judge Pallmeyer:

Dear Counsel:

| have received Plaintiff's suggested additional questions for the juror questionnaire. | have no problem with proposed
Question 14 — concerning positive experiences with law enforcement. | am less comfortable with proposed Question
16 (concerning doubts about credibility of an incarcerated person), not because the question is improper, but because
it invites other questions:

e Would you tend to doubt the credibility of a witness who has served as a police officer?

e Would you tend to doubt/ would you tend to put greater faith in / the credibility of a witness who has worked as
a defense attorney and now is a judge?

® Would you tend to doubt / would you tend to put greater faith in/ the credibility of a witness who has been an
Assistant United States Attorney?

In my view, the better approach might be to ask, during voir dire, whether the potential jurors are prepared to assess
the credibility of each witness in light of that witness’s testimony and all of the other evidence in the case — or whether
they would be unable to view the testimony of a person who has been incarcerated as credible.
 

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In my experience, potential jurors will often tell us if they feel they can’t be fair because they have pre-conceived
opinions about witness credibility. A juror who can’t put aside a prejudgment would be the subject of a cause
challenge.

If you want to propose another way of asking this question (or any other), feel free to make a further proposal.

Rebecca Pallmeyer

U.S. District Judge

From: Allison Siebeneck <ASiebeneck@rshc-law.com>
Sent: Monday, March 20, 2023 2:14 PM
To: Christina Presslak <Christina Presslak@ilnd.uscourts.zov>

Cc: Ronald Safer <rsafer@rshc-law.com>; Abbie Peluso <apeluso@rshc-law.com>; andy@halemonico.com; Bill Bazarek
<web@halemonico.com>; Allyson West <awest@halemonico.com>; Bobb@pcbtrialaw.com; David Nordwall

<david@drnlaw.net>
Subject: Brown v. City of Chicago, et al., No. 18 CV 7064 - Juror Questionnaire

Dear Ms. Presslak,

Judge Pallmeyer kindly gave the parties some additional time to review and comment on the draft cover letters and
questionnaires to be completed by the potential jurors for this matter. Plaintiff proposes two additional questions for
the written questionnaire, reflected in the attached for the Court’s consideration.

Thank you very much,

Allison

Allison N. Siebeneck (she/her/hers)

Riley Safer Holmes & Cancila LLP
